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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

UNITED STATES OF AMERICA,

                                 Plaintiff,

vs.                                                       Case No.: 3:11-cr-301-J-34JBT

PATRICK BLACKWOOD,

                      Defendant.
______________________________________/

                                                 ORDER

        Amendment 782 to the United States Sentencing Guidelines modified U.S.S.G. §

2D1.1(c)’s Drug Quantity Table, which provides the base offense levels for different

quantities of various controlled substances. Amendment 782 reduced the base offense

levels for most federal drug trafficking crimes by two levels. In July 2014, the United

States Sentencing Commission (“Commission”) promulgated Amendment 788 and

amended U.S.S.G. § 1B1.10, which made Amendment 782 retroactive as of November

1, 2014. However, to help the courts, probation services, and the United States Attorney’s

Offices cope with the anticipated flood of § 3582(c)(2) motions,1 as well as to give

prisoners time to receive the same transitional services that other federal inmates receive

prior to release, the Commission enacted U.S.S.G. § 1B1.10(e).2                        That subsection

provides that a “court shall not order a reduced term of imprisonment based on




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          An estimated 46,000 federal inmates will be eligible for a reduced sentence because of Amendment
782. Doc. 183 at 5; U.S.S.G. Supp. to App. C, Amend. 788 at 87 (Reason for Amendment). In the Middle
District of Florida alone, the probation office expects to file 2,900 memoranda concerning whether prisoners
may receive reductions under Amendment 782.
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          U.S.S.G. Supp. to App. C, Amend. 788 at 88 (Reason for Amendment).

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Amendment 782 unless the effective date of the court's order is November 1, 2015, or

later.” U.S.S.G. § 1B1.10(e).

       Before the Court is Defendant Patrick Blackwood’s Motion for Sentence Reduction

Under Amendment 782 (Doc. 133; Motion), filed on January 27, 2015. The United States

filed a Response on February 17, 2015. (Doc. 134; Response). In the Motion, Defendant

seeks to reduce his prison term under 18 U.S.C. § 3582(c)(2) based on Amendment 782

to the United States Sentencing Guidelines. See Motion at 1-2. In addition, Defendant

seeks release from custody prior to November 1, 2015, because, if his Motion is granted,

his sentence reduction could render him eligible for release before that date. In doing so,

Defendant argues that the Commission lacked statutory authority to promulgate §

1B1.10(e), that the delayed release provision is arbitrary and capricious, and that the

delayed release provision violates separation of powers principles. The United States

agrees that Defendant is eligible for a sentence reduction because Amendment 782

reduces the applicable guideline range. See Response at 1, 2, 13. However, in line with

U.S.S.G. § 1B1.10(e), the United States opposes making such an order effective before

November 1, 2015. See id. at 1-2.

       The Court has reviewed the facts in both the original presentence investigation

report and the November 12, 2014 memorandum from the United States Probation Office

(Doc. 113). Having considered the factors set forth in 18 U.S.C. § 3553(a), as well as the

nature and seriousness of any danger posed by a reduction of Defendant’s sentence, see

U.S.S.G. § 1B1.10, comment n.1(B)(ii), the Court determines that Defendant is eligible

for a guideline reduction, and adopts the amended guideline calculations agreed upon by

the parties in Defendant’s Motion and the government’s Response. The Court further



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agrees that Defendant is eligible for a sentence at the low end of his amended guidelines

range, or a term of imprisonment of 37 months. However, the Court rejects Defendant’s

challenges to the constitutional and statutory validity of U.S.S.G. § 1B1.10(e)’s delayed

release provision as these arguments are foreclosed by binding Eleventh Circuit

precedent. See United States v. Maiello,           F.3d      , 2015 WL 4931982 (11th Cir.

2015).

         Accordingly, it is hereby

         ORDERED:

         1.     Defendant's Motion for Sentence Reduction Under Amendment 782 (Doc.

                No. 133) is GRANTED insofar as he requests a reduction in his sentence.

         2.     Defendant’s Motion for Sentence Reduction Under Amendment 782 (Doc.

                133) is DENIED insofar as he seeks release prior to November 1, 2015.

         3.     The Court reduces Defendant's sentence from a period of imprisonment of

                fifty-five (55) months to thirty-seven (37) months or time served,

                whichever is greater as of November 2, 2015.                 See U.S.S.G.

                §1B1.10(b)(2)(C).

         4.     All other provisions set forth in the Judgment shall remain in full force and

                effect.

         DONE AND ORDERED in Jacksonville, Florida, this 6th day of November, 2015.




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Copies to:
Counsel of Record
United States Marshals Service
United States Probation Office
Bureau of Prisons
Defendant




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